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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


 LYNN WASIKOWSKI,

              Plaintiff,                                  CASE NO. 8:18-cv-01229-VMC-CPT

 vs.

CHARTER COMMUNICATIONS, INC.,
d/b/a CHARTER SPECTRUM,

           Defendant.
 __________________________________________/


                             NOTICE OF SETTLEMENT

       Plaintiff hereby notifies the Court that the parties have reached a settlement in
 principle in this action. Upon full execution of a settlement agreement and compliance
 with all terms set forth therein, this matter will be dismissed, with prejudice.

                                    CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2018, I electronically filed the foregoing with

 the Clerk of Court by using the CM/ECF system.

                                           Respectfully submitted,

                                           /s/ Jon Dubbeld____________________
                                           Jon P. Dubbeld, Esq.
                                           Fla. Bar No. 105869
                                           Berkowitz & Myer
                                           4900 Central Ave
                                           St. Petersburg, Florida 33707
                                           Telephone: (727) 344-0123
                                           Jon@berkmyer.com
